              Case 1:24-cv-12057 Document 1 Filed 08/09/24 Page 1 of 9




                          IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                        )
 NER CONSTRUCTION MANAGEMENT                            )
 CORPORATION,                                           )
                         Plaintiff,                     )
                                                        )
               v.                                       ) C.A. No.
                                                        )
 MASSACHUSETTS LABORERS’                                )
                                                        )
 BENEFIT FUNDS,
                                                        )
                         Defendant.                     )

                                           COMPLAINT

        Plaintiff NER Construction Management Corporation (“NER”) files this Complaint against

Defendant Massachusetts Laborers’ Benefit Funds (“MLBF”) for breach of contract, breach of the

covenant of good faith and fair dealing and for an accounting concerning miscalculated amounts

MLBF asserts it is owed by NER pursuant to a Settlement Agreement and Promissory Note

between them. NER also seeks a declaratory judgment requiring the application of restitution

payments pursuant to the Government calculation adopted and ordered by the Court (Casper, J.)

in the related matter United States v. LoConte, D. Mass. No. 1:22-cr-10274-01-DJC.

                                             PARTIES

        1.          MLBF is a 501(c)(9) organization with a principal place of business in

Burlington, Massachusetts. MLBF maintains Health & Welfare, Pension, Annuity and Legal

Services Funds for union laborers in Massachusetts.

        2.          NER is a Massachusetts corporation with a principal place of business at 867

Woburn Street, Wilmington, Massachusetts 01887. NER employs union laborers and is a

signatory on various collective bargaining agreements (“CBA”) with the Massachusetts &
               Case 1:24-cv-12057 Document 1 Filed 08/09/24 Page 2 of 9




Northern New England Laborers’ District Council (the “Union”) pursuant to which NER remits

contributions to MLBF for hours worked by union laborer employees.

                                  JURISDICTION AND VENUE

        3.        This Court has subject matter jurisdiction pursuant to 29 U.S.C. §§ 185 and

1451.

        4.        This Court has general personal jurisdiction over MLBF because MLBF is

headquartered in Burlington, Massachusetts.

        5.        Venue is proper in this district pursuant to 28 U.S.C. § 1391 because MLBF is

subject to personal jurisdiction in and so resides in this district, because a substantial part of the

events or omissions giving rise to the claims occurred in this district, and the valid forum selection

clause between NER and MLBF.

                                    FACTUAL BACKGROUND

Frank LoConte Criminal Case

        6.        In October 2022, a grand jury indicted NER’s former president, Frank LoConte

(“LoConte”), in connection with underreporting to MLBF the hours worked by Union laborers

on NER projects to reduce NER’s benefit contributions to MLBF.

        7.        Following the Government’s indictment of LoConte, NER fired LoConte, hired

a new president, elected a new board of directors, and filed a civil lawsuit against LoConte to

recoup damages caused by LoConte’s misconduct.

        8.        In September 2023, LoConte pled guilty to defrauding the MLBF.

        9.        Prior to LoConte’s guilty plea, MLBF insisted that NER begin paying MLBF

$583,201.56 in fringe benefit contributions that LoConte had failed to pay.



                                                   2
              Case 1:24-cv-12057 Document 1 Filed 08/09/24 Page 3 of 9




MLBF-NER Settlement Agreement and Promissory Note

        10.      NER agreed to begin making payments of $25,000 per month to MLBF. NER

signed a Promissory Note in favor of MLBF in the amount of $1,252,729.19 that included

$583,201.56 in fringe benefit contributions, $291,680.34 in interest, $291,680.34 in liquidated

damages, and $86,166.95 in fees plus interest accruing at 10% per annum. See Promissory Note,

attached hereto as Exhibit A.

        11.      The statute of limitations barred MLBF from collecting contributions from

NER for 2014 and 2015. MLBF, however, could recover contributions directly from LoConte

for 2014 and 2015 through Court-ordered restitution in the criminal judgment.

        12.      The parties acknowledged in the Promissory Note that the amount of fringe

benefit contributions due for 2014 and 2015 had yet to be determined and that the Court would

determine that amount per its restitution calculation. See Promissory Note, ¶ 5 n.1.

        13.      The parties also understood that the Court in LoConte’s criminal case would

eventually require LoConte to pay restitution to MLBF for unpaid fringe benefit contributions for

the years 2014 through 2022. The parties understood that such payments would be applied first

to unpaid fringe benefit contributions for 2014 and 2015 owed to MLBF as calculated by the

Court in its LoConte restitution order, then credited against the amount NER owed MLBF under

the Promissory Note.

        14.      The parties’ understanding was memorialized in a Settlement Agreement

setting forth how MLBF would apply LoConte’s restitution payments against NER’s promissory

note. See Settlement Agreement, attached hereto as Exhibit B.

        15.      The parties agreed in paragraph 5 of the Settlement Agreement regarding how

restitution payments in LoConte’s criminal case would be applied:

                                                 3
              Case 1:24-cv-12057 Document 1 Filed 08/09/24 Page 4 of 9




        The Parties agree that any restitution payments received from LoConte as a result of the
        Criminal Action shall first be applied to principal contributions owed for the period 2014
        and 2015.1 Any amounts received from LoConte over and above the amount owed for
        2014 and 2015 shall be applied to the balance owed under this Settlement Agreement
        and shall offset the total amount owed by NER.

LoConte’s Restitution Order

        16.       In September 2023, LoConte plead guilty to one count of mail fraud and one

count of failing to collect and pay payroll taxes.

        17.       LoConte’s Sentencing Hearing took place on March 5 and 18, 2024. Because

there was no agreement as to the loss amounts, the Court heard argument from the Government

and defense on MLBF’s loss and the amount of restitution that should be ordered.

        18.       At the March 5 hearing, the Government argued that the total loss to the Benefit

Funds was $1,094,504, with $823,774 of that figure attributable to the MLBF. LoConte

Sentencing Day 1 Tr. 1-10:5-10, 1-11:17-20 (March 5, 2024), attached hereto as Exhibit C.

        19.       The Government’s calculation of a $823,774 loss to MLBF was based on an

“affidavit of Christian Ruehrwein (‘Ruehrwein’) from the Department of Labor” and

“corroborated by documents that [were] attached to his affidavits, which include[d] every single

non-payroll check … as well as some other documents.” Ex. C, 1-10:11-17; U.S. v. LoConte, D.

Mass. No. 1:22-cr-10274-01-DJC, Dkt. 77-1, 77-2. See also Ex. C, 1-6:21-23 (describing “an Excel

spreadsheet that was provided to [the Defense] by the [G]overnment … [that] goes over the loss

to the benefit funds to the laborers and bricklayers[.]”).

        20.       Documentation attached to Ruehrwein’s affidavit identified a $2,907.54 loss to

MLBF for 2014 and a $93,750.79 loss to MLBF for 2015. Ruehrwin identified the total loss to

MLBF for 2014 and 2015 years as $96,658.33. See 2014-2015 Excel Excerpt of Ruehrwein’s

Calculations (U.S. v. LoConte, D. Mass. No. 1:22-cr-10274-01-DJC, Dkt. 77-2), attached hereto as


                                                     4
              Case 1:24-cv-12057 Document 1 Filed 08/09/24 Page 5 of 9




Exhibit D.

        21.       The Government’s calculations were also corroborated by the letter submitted

by Nathan Goldstein, executive director of Mass. Laborers’ Benefits Funds. Goldstein’s letter

proposed a lower loss figure. Ex. C, 1-10:18-22.

        22.       Because LoConte disagreed with the Government’s benefit funds loss amount,

the Court took the matter under advisement and continued the sentencing to March 18, 2023.

        23.       On March 18, the Court sentenced LoConte to imprisonment followed by a

period of supervised release and ordered restitution to MLBF. See LoConte Sentencing Day 2 Tr.

2-16:13-21 (March 18, 2024), attached hereto as Exhibit E.

        24.       The Court adopted the Government’s loss amounts set forth in Ruehrwein’s

affidavit, noting the loss was “reasonably calculated and supported by a preponderance of the

evidence.” Ex. E, 2:10:21-2:11:1-2, 2-13:11-16, 2-16:1-4.

        25.       Ruehrwein’s affidavit attaches Exhibit 1A, a spreadsheet calculating the total

amount of restitution owed to the MLBF at $823,774.38. U.S. v. LoConte, D. Mass. No. 1:22-cr-

10274-01-DJC, Dkt. 77-2. Ruehrwein’s spreadsheet allocates $96,658 in restitution MLBF to 2014

and 2015 and includes payments to laborers by LoConte made in the form of non-payroll checks

and cash. Id.; see also Ex. D.

        26.       The Settlement Agreement requires MLBF to apply $96,658 in LoConte

restitution payments to MLBF losses for 2014 and 2015. MLBF is further required to apply the

remaining $727,116 in LoConte restitution payments to the balance owed by NER under the

Settlement Agreement and Promissory Note.

MLBF’s Misallocation




                                                   5
              Case 1:24-cv-12057 Document 1 Filed 08/09/24 Page 6 of 9




        27.      On information and belief, MLBF received a restitution payment from LoConte

in the amount of $316,723.19. MLBF has not applied any of that amount to NER’s Promissory

Note to reduce the principal balance under the Note as required by the Settlement Agreement.

        28.      Instead, MLBF takes the erroneous position that it is not bound by restitution

amounts calculated by Ruehrwein. MLBF asserts that the amount owed to MLBF for 2014 and

2015 is approximately $200,000, instead of just the $96,658 in Ruehrwein’s calculation that the

Court adopted in the criminal case. MLBF asserts, accordingly, that it will apply LoConte’s

restitution payments first to the $200,000 total MLBF assets it is due for 2014 and 2015 before

crediting those payments against NER’s Promissory Note.

                                         COUNT I
                                      Breach of Contract

        29.      NER incorporates each of the foregoing paragraphs as if fully set forth herein.

        30.      The Settlement Agreement was a valid contract between NER and MLBF.

        31.      MLBF breached that contract by failing to apply restitution payments made by

LoConte to MLBF to the principal contributions owed for the period 2014 and 2015 and amounts

due by NER under the Settlement Agreement, in accordance with Paragraph 5 of the Settlement

Agreement and the Government’s loss calculations.

        32.      MLBF’s breach caused NER to suffer damages, including but not limited to,

loss monetary damages in excess of $200,000.

                                        COUNT II
                    Breach of the Covenant of Good Faith & Fair Dealing

        33.      NER incorporates each of the foregoing paragraphs as if fully set forth herein.

        34.      The Settlement Agreement was a valid contract between NER and MLBF.



                                                6
              Case 1:24-cv-12057 Document 1 Filed 08/09/24 Page 7 of 9




        35.       Under Massachusetts law, there is an implied covenant that the parties will act

in good faith and fairly with another. Contracting parties are prohibited from behaving in a

manner inconsistent with the parties’ reasonable expectations.

        36.       NER has and continues to fully perform its obligations under the Settlement

Agreement.

        37.       MLBF breached the covenant of good faith and fair dealing implied by law in

the Settlement Agreement by rejecting the Court-endorsed loss calculation for the 2014 and 2015

period and by refusing to accurately attribute restitution payments to principal contributions owed

for the 2014 and 2015 period and amounts due by NER under the Settlement Agreement.

        38.       As a direct and proximate result of MLBF’s breach, NER has suffered and will

continue to suffer damages.

                                           COUNT III
                                      Declaratory Judgment

        39.       NER incorporates each of the foregoing paragraphs as if fully set forth herein.

        40.       An actual controversy exists between NER and MLBF regarding whether

MLBF is in breach of the Settlement Agreement.

        41.       MLBF is in breach of the Settlement Agreement.

        42.       NER is entitled to a declaratory judgment that MLBF is bound by the restitution

judgment entered in LoConte’s criminal case and the Court’s finding that the amount of

restitution attributable to the 2014 and 2015 years is $96,658.

                                            Count IV
                                      Equitable Accounting

        43.       NER incorporates each of the foregoing paragraphs as if fully set forth herein.



                                                  7
                Case 1:24-cv-12057 Document 1 Filed 08/09/24 Page 8 of 9




        44.        MLBF owes fiduciary duties to NER with respect to application of payments

to the Promissory Note and the Settlement Agreement.

        45.        Equity requires that MLBF fully account to NER with respect to payments

applied under the Promissory Note.

                                        PRAYER FOR RELIEF

        WHEREFORE, NER respectfully requests that the Court hereby enter judgment against

MLBF and provide relief as follows:

        A. Actual, compensatory, and consequential damages for MLBF’s breaches of the

              Settlement Agreement and of the implied covenant of good faith and fair dealing, in

              amounts to be determined by the Court.

        B. Entry of a declaratory judgment that MLBF has breached the Settlement Agreement

              and that MLBF must credit only the first $96,658 in LoConte restitution payments to

              2014 and 2015, then credit any remaining LoConte restitution payments against the

              principal balance NER owes under the Promissory Note.

        C. Entry of an order requiring MLBF to render a full accounting of all LoConte restitution

              payments received and all application of payments to the Promissory Note and

              Settlement Agreement.

        D. An award against MLBF of NER’s reasonable costs and fees; and

        E. Such other relief that this Court deems just and proper.


                                         JURY DEMAND

        Pursuant to Federal Rule of Civil Procedure 38(b), NER demands a trial by jury on all

issues triable by a jury.




                                                 8
             Case 1:24-cv-12057 Document 1 Filed 08/09/24 Page 9 of 9




                                                     Respectfully submitted,

                                                     NER CONSTRUCTION
                                                     MANAGEMENT CORPORATION

                                                     By its attorneys,

                                                     /s/ William J. Lovett
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Dated: August 9, 2024

                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was sent via the Court’s electronic filing system
and served to all counsel of record on August 9, 2024

                                                     /s/ William J. Lovett
                                                     William J. Lovett




                                                 9
